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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR TWO EMAIL                         SC No. 20-523
 ACCOUNTS SERVICED BY TIERPOINT
 LLC FOR INVESTIGATION OF                            Filed Under Seal
 VIOLATIONS OF 50 U.S.C. § 1705

Re erence:        USA° Re #                      Subject Accounts:


                         APPLICATION OF THE UNITED STATES
                      FOR AN ORDER PURSUANT TO 18 U.S.C. 2703(d)

           The United States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require TierPoint, LLC ("PROVIDER"), an electronic communication

service provider and/or a remote computing service located in St. Louis, Missouri, to disclose

certain records and other information pertaining to the email accounts

(TARGET ACCOUNT 1) and                                             (TARGET ACCOUNT 2) as set

forth in Part I of Attachment A. The records and other information to be disclosed are described

in Part II of Attachment A to the proposed Order. In support of this application, the United States

asserts:

                         LEGAL BACKGROUND AND JURISDICTION

           1.      PROVIDER is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Accordingly, the United States may use a court order issued under § 2703(d) to require

PROVIDER to disclose the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2)

(Part ILA of Attachment A); 18 U.S.C. § 2703(c)(1) (Part ILB of Attachment A).

           2.     This Court has jurisdiction to issue the requested Order because it is "a court of
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competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(d). Specifically, the

Court is a "district court of the United States . . . that — has jurisdiction over the offense being

investigated." 18 U.S.C. § 2711(3)(A)(i).

       3.      As discussed more fully below, acts or omissions in furtherance of the offenses

under investigation occurred within Washington, D.C. See 18 U.S.C. § 3237.

       4.      A court order under section 2703(d) "shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that the

records or other information sought are relevant and material to an ongoing criminal

investigation." 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the records

and other information described in Part II of Attachment A are relevant and material to an ongoing

criminal investigation.

                                      RELEVANT FACTS

       5.      The U.S. Depth tment of Commerce, Bureau of Industry and Security ("BIS"),

Office of Export Enforcement ("OEE") and U.S. Department of Justice, Federal Bureau of

Investigation ("FBP') are investigating suspected violations of export control laws. Specifically,

they are investigating the alleged unlawful transshipment of U.S.-origin commodities to

destinations outside of the United States, most notably               in violation of the Export

Administration Regulations ("EAR"), 15 CFR § 730, et. seq., the International Emergency

Economic Powers Act, 50 U.S.C. § 1705, the Export Control Reform Act of 2018 ("ECRA"), 50

U.S.C. § 4819, as well as, conspiracies to violate these provisions, 18 U.S.C. § 371.

       6.      During this investigation, law enforcement identified a U.S.-based company called

                                          and an individual named



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who appears to be the                                     of                        based on shipping

documents obtained from U.S. freight carriers.

         7.    Based on open source information                            develops, manufactures and

supplies sophisticated positioning and guidance systems for military, industrial and commercial

applications, including, but not limited to: navigation systems, unmanned aerial and ground

vehicles, and autonomous underwater vehicles.

         8.                        was the subject of a previous United States investigation in or

around         for suspected export control violations.                           is believed to have

knowledge of the Export Administration Regulations ("EAR"). As part of that investigation, law

enforcement informed                            officers of the requirements under the EAR.

Additionally, many of                        commercial invoices examined by law enforcement

contained an export compliance statement, which read:

               "These items are controlled by the U.S. Government and authorized for export only
               to the country of ultimate destination for use by the ultimate consignee or end-
               user(s) herein identified. They may not be resold, transferred, or otherwise
               disposed of, to any other country or to any person other than the authorized ultimate
               consignee or end-user(s), either in their original form or after being incorporated
               into other items, without first obtaining approval from the U.S. government or as
               otherwise authorized by U.S. law and regulations."

         9.    According to the Automated Export System ("AES"), the U.S. Government's

database used to track exports from the United States                           has been the principal

party in approximately 377 transactions to foreign parties from January 2014 to present. Of these

377 exports, 274 of them listed             as the point of contact for                        exports,

including on transactions as recent as December 2019.

         10.   Law enforcement identified numerous transactions that displayed suspicious

indicators. Specifically, special agents found tha                        exported sensitive U.S. items



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to two separate trading companies located in the                                     etween July and

November 2019,

       11.     Prior investigations have revealed that procurement agents have exploited U.S.

export laws by arranging for items to be first exported to a country (e.g.,         or company that

does not have the same licensing requirements as the actual end user. Subsequently, these items

are then illicitly re-shipped to a country or company that would normally require a BIS (which is

based in Washington, D.C.) export license and/or authorization from the U.S. Depth tment of

Treasury, Office of Foreign Assets Control (which is based in Washington, D.C.), which

specifically applies to ■    and other sanctioned entities. According to the BIS, the             is a

known transshipment point for goods destined foM           based both its proximity tcMand the

relative ease with which items are re-exported without scrutiny. The scheme typically occurs as

follows: goods are shipped from the United States to the                    often accompanied by

certifications, invoices and other representations that the end-user of the goods is located in

but once the goods arrive, they are re-shipped toM sometimes immediately. This arrangement

permits the true'nd-user          to evade and avoid the various U.S. export controls and sanctions

limiting trade with'.

        12.    One suchMompany tha                                shipped to was

(                '). AES data from separate exports that took place in 2017 and 2019 shows that

               shares the sameMbased address a



       13.          was added to the BIS Entity List (hereafter "Entity List") in May 2019 for

engaging in activities that are contrary to the national security and foreign policy objectives of the

United States. Such companies/individuals also present a greater risk of diversion of commodities



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and technology to other entities that may operate against the interests of the United States and its

allies; for example, the           military or terrorist organizations. The Entity List is publically

viewable via the Internet and commonly used by U.S. exporters during their due diligence of

prospective foreign buyers. It identifies foreign parties prohibited from receiving some or all items

subject to the EAR without a BIS license authorizing export from the United States. The exporter,

re-exporter, or transferor (in-country) may seek such a BIS license for export.

       14.        As part of the investigation, law enforcement obtained and reviewed shipping

records from a U.S.-based freight carrier that facilitated                         export of sensitive

U.S. goods t(                     This review disclosed the items were actually received byM as

summarized below:

             a.   On or about November 5, 2019,                        created a commercial invoice,

                  bearing-s           name and purported signature, for the shipment in question that

                  listed                as the recipient and                 as the recipient point of

                  contact. The recipient address was



             b. On or about November 7, 2019, the shipment arrived in the

             c. On or about November 10, 2019, the U.S.-based freight carrier made a tracking

                  system note that "An import license is missing and is required for clearance...We'll

                  contact                      or receiver about this delivery."

             d. On or about November 18, 2019,                          created an additional invoice

                  to supplement the shipment, bearing              name and purported signature, that

                  listedM as the recipient and                                        as the recipient




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                points of contact. The recipient address was



             e. On or about December 8, 2019, the U.S.-based freight carrier made a tracking

                system note that "The receiver has moved. We're attempting to obtain a new

                delivery address for this receiver."

             f. On or about December 10, 2019, the U.S.-based freight carrier confirmed the

                shipment was delivered to                   , which appears to be a phonetic spelling

                of

       15.                                              as the point of contact, also completed 10

exports to used             company called

from February 2017 to September 2019. At least one of these shipments contained sensitive U.S.

goods export-controlled for missile technology reasons and required an export license. Law

enforcement's review of the BIS export licensing database found no existing export licenses

approved for or submitted by                           to export, re-export, or transfer these specific

items to

       16.      The website fo                         indicated it was a retailer for wines and spirits.

This purchase of controlled items by a company that does not normally use/sell such goods is

considered a "red flag" or cause for concern in export compliance terms.

       17.                           shipping records reviewed by law enforcement disclosed

             used TARGET ACCOUNT 1 and TARGET ACCOUNT 2 during numerous

interactions with U.S.-based freight carriers during                         xport of U.S.-origin items.
TARGET ACCOUNT 1 and TARGET ACCOUNT 2 are serviced by Provider.




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       Role That Metadata Will Serve In Advancing the Investigation

       18.     Based on prior investigations, law enforcement is aware that criminal co-

conspirators communicate frequently through private messages and email about their legitimate

and illegitimate businesses, as well as the transfer of proceeds from such businesses. Private

messages and email offer a uniquely valuable form for such communication, as they can be

accessed from any location. Many such persons also believe that such messages are difficult to

trace, which leads them to have inculpatory conversations.

       19.     Moreover, persons operating international procurement operations typically have

to communicate via email with persons funding their operations, due to the time differences

involved, as well as limited phone access in certain regions of the world. When transferring funds

to co-conspirators, electronic communications will normally occur to inform the other party that

the money has been sent, followed up by communications that the money has been received. Law

enforcement is also aware from prior investigations that subordinates in the management chain

must communicate to their superiors the status of their illegal tasks as well as receive new illegal

tasks. Based on these facts, law enforcement believes that the subjects of the investigation are

communicating via email.

       20.     The header information of these communications can reveal the scope of the

contacts between the money launderers/export control violators and who the important co-

conspirators are.   Multiple individuals and companies associated with the targets of this

investigation have taken steps to obscure or anonymize their identities. Learning the header

information from associated email accounts is likely to reveal persons within this network,

including customers possibly in         as well as further identify any other users of the email

account.



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       21.     Because criminals who communicate via email fear detection, they typically

employ multiple fake identities, which is accomplished by creating numerous free email accounts.

Part of managing this vast number of accounts often leads to the linking of recovery accounts.

This allows a single user the ability to access as well as reset passwords for the multiple linked

accounts. Law enforcement is aware that the tracking and detection of linked accounts is one way

by which a person and/or co-conspirators can be identified. Moreover, the linking of a recovery

account can further demonstrate who has access and/or control of an account.

       22.     Learning the requested information will allow law enforcement to investigate these

newly identified persons, and in some instances surveil and interview them.               Identifying,

surveilling, and interviewing these persons will advance the investigation of the subjects and their

co-conspirators, by further revealing the scope of their activities, both legal and illegal.

                                     REQUEST FOR ORDER

       23.     The facts set forth above show that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to an

ongoing criminal investigation. Accordingly, the United States requests that PROVIDER be

directed to produce all items described in Part II of Attachment A to the proposed Order within

ten days of receipt of the Order.

       24.     The United States further requests that the Order direct PROVIDER not to notify

any person, including the subscriber or customer of each account listed in Part I of Attachment A,

of the existence of the application of the United States or the Order for one year from the date of

the Court’s Order. See 18 U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b)

to issue “an order commanding a provider of electronic communications service or remote

computing service to whom a warrant, subpoena, or court order is directed, for such period as the



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court deems appropriate, not to notify any other person of the existence of the warrant, subpoena,

or court order.” See 18 U.S.C. § 2705(b).1

       25.     In this case, the proposed Order seeks information relevant to establishing the

illegal activity under investigation and identifying the individual(s) responsible. Accordingly,

disclosure may reveal the existence, scope, and direction of the United States’ ongoing and

confidential investigation.    Once alerted to this investigation, potential target(s) could be

immediately prompted to destroy or conceal incriminating evidence, alter their operational tactics

to avoid future detection, and otherwise take steps to undermine the investigation and avoid future

prosecution. In particular, given that they are known to use electronic communication and remote

computing services, the potential target(s) could quickly and easily destroy or encrypt digital

evidence relating to their criminal activity. Notification could also result in the target(s) avoiding

travel to the United States or other countries from which they may be extradited.

       26.     Therefore, based on the foregoing, there are reasonable grounds to believe that

notification of the existence of this Order would result in flight from prosecution, destruction of

or tampering with evidence, or other serious jeopardy to this investigation. See 18 U.S.C.

§ 2705(b)(2), (3), and (5).

       27.     Given the complex nature of the criminal activity under investigation and likely

involvement of foreign-based coconspirators and evidence, and also given that the criminal scheme



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  The government relies on § 2705(b) to seek a preclusion-of-notice order because the government
is requesting only non-content information pursuant to § 2703(d), an action which is authorized
by § 2703(c). See 18 U.S.C. § 2703(c)(1)(B) (“governmental entity may require a provider of
electronic communication service or remote computing service to disclose a record or other
information pertaining to a subscriber to or customer of such service (not including the contents
of communications) only when [it] . . . obtains a court order for such disclosure under subsection
(d) of this section”). Under § 2703(c), the government has no obligation to notify the subscriber.
See 18 U.S.C. § 2703(c)(3) (“governmental entity receiving records or information under this
section is not required to provide notice to a subscriber or customer”).
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may be ongoing, the United States anticipates that this confidential investigation will continue for

the next year or longer.

       28.     Accordingly, this Court should command PROVIDER not to notify any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) of the existence

of the proposed Order for a period of one year (commencing on the date of the proposed Order),

unless the period of nondisclosure is later modified by the Court. Should the court-ordered

nondisclosure under Section 2705(b) become no longer needed because of the closure of the

investigation or arrest of the account holder, the United States will make best efforts to notify the

Court promptly and seek appropriate relief.




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       29.     In this matter, the United States also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)

(citing Nixon v. Warner Commn’ns, Inc., 435 U.S. 589, 598 (1978)). More particularly, the Court

may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated

above, the United States has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.

                                             Respectfully submitted,

                                             TIMOTHY J. SHEA
                                             United States Attorney

                                             ______/s/ Zia Faruqui_________
                                             Zia M. Faruqui
                                             Assistant United States Attorney
                                             555 4th Street, N.W., Room
                                             Washington, D.C. 20530;
                                             Office: 202-252-7117
                                             Zia.Faruqui@usdoj.gov




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR TWO EMAIL SC No. 20-523
 ACCOUNTS SERVICED BY TIERPOINT
 LLC     FOR  INVESTIGATION     OF Filed Under Seal
 VIOLATIONS OF 50 U.S.C. § 1705

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring TierPoint, LLC (“PROVIDER”), an electronic

communication and/or remote computing service provider located in St. Louis, Missouri, to

disclose the records and other information described in Attachment A to this Order. The Court

finds that the United States has offered specific and articulable facts showing that there are

reasonable grounds to believe that the records or other information sought are relevant and material

to an ongoing criminal investigation. Furthermore, the Court determines that there is reason to

believe that notification of the existence of this Order will seriously jeopardize the ongoing

investigation, including by giving targets an opportunity to flee from prosecution and destroy or

tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of

one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.
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       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.

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                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    UNITED STATES MAGISTRATE JUDGE




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                                        ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information with the (i) following email

accounts; (ii) any forwarding or fetching accounts relating to the following email accounts; (iii) all

other TierPoint, LLC ("PROVIDER") account(s) linked to the following email addresses by

cookie overlap; (iv) all other PROVIDER accounts that list the same recovery email address as the

following email addresses; and (v) all other PROVIDER accounts that share the same login IP

address or registered telephone numbers associated with the following identifier(s):

   •
   •

and any preserved data and/or preservation numbers associated therewith.

II. Records and Other Information to Be Disclosed

   A. Information about the customer or subscriber or the Account(s):

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Account(s)") constituting information about the customer or subscriber or the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses);
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       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.

   B. All records and other information relating to the Account and Linked Accounts

       (except the contents of communications)


   PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Accounts and Linked Accounts for the time period from January

1, 2017, to the present, constituting all records and other information relating to the Accounts

(except the contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;
          and

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information; and




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        CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
               PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)


         I, ______________________________, do hereby attest, under penalties of perjury under

the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by TierPoint LLC (“TierPoint”),

and my official title is ______________________________. I am a custodian of records for

TierPoint. I state that each of the records attached hereto is the original record or a true duplicate

of the original record in the custody of TierPoint, and that I am the custodian of the attached

records consisting of __________ (pages/CDs/kilobytes). I further state that:

         a.      All records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

         b.      Such records were kept in the ordinary course of a regularly conducted business

activity of TierPoint; and

         c.     Such records were made by TierPoint as a regular practice.

         I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.




 Date                                   Signature

   C.




                                                     3
